Case 5:17-cr-00205-SMH-MLH        Document 60      Filed 12/18/17   Page 1 of 1 PageID #:
                                         93



                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF LOUISIANA
                              SHREVEPORT DIVISION


 UNITED STATES OF AMERICA                        CRIMINAL NO. 17-00205-02

 VERSUS                                          CHIEF JUDGE S. MAURICE HICKS, JR.

 BARON DEWAYNE MASON                             MAGISTRATE JUDGE HORNSBY


                                        ORDER

         The Report and Recommendation of the Magistrate Judge having been considered,

 and the parties having waived their objections thereto;

         IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant’s guilty

 plea is accepted, and the court hereby adjudges Defendant guilty of the offense charged

 in Count 2 of the Indictment.

         THUS DONE AND SIGNED in Shreveport, Louisiana, this 18th day of December,

 2017.
